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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA

                                                         Case # 24-31547
                                                         Chapter 13

 In re:                                       )
                                              )
                                              )
 Marko Kamel
                                              )
                                              )
                                              ) ORDER DISMISSING CASE
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                                              )
                                              )
                                              )

                              Debtor,




          This matter came before the Court on the debtor's motion to dismiss her chapter 13

proceeding. Based on the file, record and proceedings,


IT IS ORDERED:

     1. That the debtor's motion is GRANTED and the chapter 13 case is dismissed.

                                               BY THE COURT:

Dated: _______________
       August 21, 2024
                                               /e/ Michael E. Ridgway
                                               ______________________
                                               Michael E. Ridgway
                                               United States Bankruptcy Judge
